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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

    v.                                                Case No. 21-CR-85-CRC

 JOHN STRAND,

      Defendant.




 UNITED STATES’ MOTION TO WITHDRAW MOTION TO DISMISS INDICTMENT
  WITH PREJUDICE PURSUANT TO FEDERAL RULE CRIMINAL PROCEDURE
                               48(a)

         The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this motion to withdraw the Motion to Dismiss

Indictment with Prejudice filed on January 21, 2025 (ECF No. 156).

         The government is moving to withdraw the previously filed Motion to Dismiss Indictment

with Prejudice (ECF No. 156). The underlying case is currently under the jurisdiction of the D.C.

Circuit Court of Appeals. United States v. Strand, 23-3083 (D.C. Cir. Jan. 16, 2024). On January

22, 2025 the government filed an unopposed motion to vacate convictions and remand for

dismissal in the D.C. Circuit Court filing. Id. Once this case is remanded back to the District Court,

the government will re-file the motion to dismiss the indictment.




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                                   Respectfully submitted,

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                                   ____________/S/_______
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